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DUKE ENERGY RENEWABLES, INC.



                         IN THE UNITED STATE DISTRICT COURT

                              FOR THE DISTRICT OF WYOMING


UNITED STATE OF AMERICA,               )
                                       )
            Plaintiff,                 )
                                       )
            v.                         ) Criminal No. 13-CR-268-R
                                       )
DUKE ENERGY RENEWABLES, INC.           )
                                       )
            Defendant.                 )
                                       )
______________________________________________________________________________

                DEFENDANT’S FIRST ANNUAL PROBATIONARY REPORT
______________________________________________________________________________

                                              INTRODUCTION
       Pursuant to the plea agreement (Doc. 2 § 15(b)(i)) (“Agreement”) and the judgment

(Doc. 8 at 2 & attach. B thereto), defendant Duke Energy Renewables, Inc. (“DER”) submits this

report to the Court, the U.S. Fish & Wildlife Service (“USFWS”), and the U.S. Department of

Justice by and through the U.S. Attorney, District of Wyoming and the Environment and Natural
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Resources Division (collectively, “Department”) concerning the DER’s progress in

implementing the Migratory Bird Compliance Plan (“MBCP”). Pursuant to the plea and

judgment, DER agreed to implement the MBCP with the assistance of the USFWS and

Department. The MBCP is attached as Attachment B to both the plea and judgment.

                                           SUMMARY
       Since sentencing on November 22, 2013, DER has made substantial progress in

implementing the MBCP. At the conclusion of this first year of probation, DER asserts it has

met all applicable deadlines and performed all required tasks due to be completed within

12 months of sentencing. The Department and USFWS have informed DER that they concur

with this assertion, based on information known at the time of this filing. Additional deadlines

and tasks required to be completed within 24 months of sentencing or later will be addressed as

applicable in future annual reports.

                                 JUDGMENT REQUIREMENTS
       The judgment imposed a sentence of unsupervised probation for a term of sixty (60)

months. Consistent with its conditions of probation, DER has:

              paid its special assessment, fine, and restitution payments as ordered by the Court;

              performed its community service by making the required payments;

              met with the USFWS and the Department on April 29, 2014, and on October 21,
               2014, to discuss DER’s progress in implementing the MBCP and to address any
               issues or amendments necessary to ensure the MBCP’s effectiveness; and

              developed and is in the process of implementing the MBCP, as described in more
               detail below.




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                                           MBCP REQUIREMENTS
           Under the MBCP, DER is required to undertake certain tasks within 3, 6, 12, 18, and

24 months of sentencing, which occurred on November 22, 2013. Following is an assessment of

DER’s progress in implementing the MBCP.1

           1.       Bird and Bat Conservation Strategy (“BBCS”). DER completed an initial

revision of the BBCSs for each of the four wind sites covered under the Agreement in

accordance with the 2012 USFWS Land-Based Wind Energy Guidelines (“LBWEGs”). As

contemplated under the MBCP, “the BBCS can be written and revised in stages, over time, as

analysis and studies are undertaken for each Tier.” DER coordinated with USFWS with these

revisions, including several exchanges and subsequent discussion of comments and edits.

                1.1     Inclusion of Tier 1-5 information into the BBCSs: The revisions of the
           BBCSs included the elements of Tiers 1-5 that DER had collected to that point.

                   1.2    BBCS’s are life-of-project documents, subject to periodic revision: No
           action required.

                   1.3   Studies, surveys, data collection, practicable avoidance, minimization, and
           mitigation measures, Eagle Conservation Plan information, etc., will be incorporated into
           BBCSs: No action required at this time.

                  1.4     Initial revisions of BBCSs to be completed within 12 months of
           sentencing: Completed. The narrative and all appendices of the four revised BBCSs
           were uploaded to the DER external SharePoint site on or before March 24, 2014.
           Notification of availability of the revised BBCSs on the external SharePoint site was
           provided to the USFWS and the Department via electronic mail on March 24, 2014.

           2.       Tier 5 Golden Eagle Analysis. As noted in the MBCP, DER has collected a

significant amount of Tier 2, 3, 4, and 5 data as identified in this section.

                2.1    Focus of MBCP shall be on golden eagles at the Top of the World
           (TOTW) wind project and Campbell Hill (CHW) wind project: No action required

                 2.2    Analysis of Tier 2-5 data to be completed within 12 months of sentencing:
           Completed. A Tier 5 Golden Eagle Analysis report for the TOTW wind project and

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    For ease of review, section citations below correspond to sections of the MBCP.


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CHW project was completed and provided via U.S. mail to USFWS and the Department
on October 31, 2014 by DER. The full report and appendices also have been uploaded to
DER’s external SharePoint site.

         2.3    Additional data collection and use: Ongoing, no specific action required
at this time.

3.       Experimental Advanced Conservation Practices.

       3.1   Measures to be implemented at the four sites (TOTW, CHW, Happy Jack
Wind site (HJW), and Silver Sage Wind site (SSW)):

                3.1.1   Carrion removal: Implemented upon the date of sentencing and is
                        an ongoing practice.

                3.1.2   Removal of man-made habitat features that may harbor prey
                        species: Completed. DER completed a survey and assessment of
                        potential manmade habitat features that may harbor lagomorphs
                        (rock piles, debris piles, etc.) or fossorial mammals at the four
                        wind sites. No such features were identified. A report of this
                        survey and assessment was provided to the USFWS and the
                        Department via U.S. mail on October 31, 2014. Data sheets and
                        photos documenting the findings of this survey and assessment are
                        located on DER’s external SharePoint site.

      3.2    Best Management Practices and other single-event actions to be
implemented at TOTW.

                3.2.1   Removal of roadkill carcasses along SR 95: Implemented within
                        90 days of sentencing and ongoing at a weekly frequency. Weekly
                        data sheets have been uploaded to DER’s external SharePoint site.

                3.2.2   Removal of two guyed meteorological towers: Completed. The
                        two meteorological towers were removed by DER on July 22,
                        2014.

                3.2.3   Adjusted Wind Turbine Operation (AWTO) March 15 – October
                        15: Work in progress, as this measure shall be implemented by
                        March 15, 2015. MBCP § 3.2.3. Note, DER is already operating
                        GE turbines in this manner.

      3.3    Ongoing Experimental Advanced Conservation Practices to be
implemented at TOTW.

                3.3.1   Visual deterrent testing: A visual deterrent test funded by DER
                        and done in cooperation with the American Wind Wildlife Institute
                        and The Peregrine Fund was performed to evaluate the efficacy of
                        ultraviolet light stimulus to deter golden eagles. Results of this test


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                 were provided to the USFWS and the Department via U.S. mail on
                 October 31, 2014. The report has also been uploaded to the DER
                 external SharePoint site. DER also evaluated a variety of visual
                 deterrent options (including blade painting per 3.3.1.2) and
                 provided a report of this evaluation to the USFWS and Department
                 via U.S. mail on October 31, 2014.

         3.3.2   Audible deterrent testing: An audible deterrent test was performed
                 at the TOTW site in July 2014. Results of this test were provided
                 to the USFWS and Department via U.S. mail on October 31, 2014.
                 The report has also been uploaded to the DER external SharePoint
                 site. DER also evaluated a variety of audible deterrent options and
                 provided a report of this evaluation to the USFWS and Department
                 via U.S. mail on October 31, 2014. Both visual and audible
                 deterrent evaluations are included in the same report.

         3.3.3   “Informed Curtailment” at TOTW: Informed eagle curtailments at
                 the TOTW site were initiated ahead of schedule by DER on March
                 5, 2014 and have been ongoing at TOTW since. USFWS and DER
                 worked cooperatively to develop an interim protocol for informed
                 eagle curtailment. Further improvements and refinements
                 (including the construction of an eagle observation tower) have
                 been completed with additional improvements ongoing with
                 experience.

         3.3.4   Test detection technologies at TOTW.

                 3.3.4.1   Radar proof-of-concept test: Completed. A Tier 5 SRC
                           radar proof-of-concept report titled “BSTAR Duke
                           Energy Renewables Radar Final Report” was provided
                           by DER to the USFWS and Department via electronic
                           mail on March 13, 2014.

                 3.3.4.2   Radar study evaluation: Ongoing, per requirement. No
                           material advancements of radar technology have been
                           identified by DER. DER is having ongoing discussions
                           with the USFWS on this issue and they have concurred
                           with this assessment.

                 3.3.4.3   Consideration of combining detection/deterrent
                           technologies: Ongoing, per requirement. DER is still in
                           the evaluation phase of the detection/deterrent
                           requirement. DER has initiated a Request for
                           Information to the public. DER is evaluating the
                           responses. DER plans to discuss the proposals with the
                           USFWS. DER is coordinating with the American Wind
                           Wildlife Institute and has had discussions with the


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                                         Department of Energy through their 2014 Request for
                                         Information solicitation. DER is also working
                                         cooperatively with USFWS on the trapping and fitting
                                         of golden eagles with GPS tracking devices on the
                                         TOTW site. This technology may lead to enhanced
                                         detection capabilities for resident golden eagles.

              3.4    Implementation of Experimental Advanced Conservation Practices
       (ACPs): Informed legal curtailments are ongoing at the TOTW site. The evaluation of
       other experimental ACPs is ongoing to determine if they are scientifically proven to
       reduce golden eagle fatalities at TOTW.

             3.5     Development and evaluation of other Experimental Advanced
       Conservation Practices: DER is working with several technology providers, non-
       government organizations and the government to evaluate other experimental ACPs.

       4.       Monitoring. DER worked cooperatively with the USFWS on the development of

a fatality monitoring protocol. This protocol was finalized by DER on August 15, 2014, and the

monitoring began on September 15, 2014.

                4.1    Research.

                        4.1.1 – 4.1.4 Searcher-efficiency and carcass-persistence, trials, bias-
                correction development: DER continues to work cooperatively with USFWS on
                the development of a research protocol.

                4.2    Golden eagle fatalities.

                       4.2.1   Notification within 24 hours of golden eagle fatalities at TOTW,
                               CHW, Happy Jack and Silver Sage wind projects: Ongoing, per
                               requirement. DER has reported four golden eagle carcasses to
                               USFWS within 24 hours of DER knowledge of discovery since the
                               date of sentencing.

                       4.2.2   Special Purpose – Utility (SPUT) permit: DER applied for and
                               received SPUT permits for the four Wyoming wind sites. Permits
                               were received on September 17, 2014.

               4.3     Use of Ornicept/Geotraverse monitoring software: Implemented within 90
       days of sentencing as required and is ongoing. Eagle fatalities that have occurred since
       the date of sentencing and the analysis of manmade habitat features utilized the
       Ornicept/Geotraverse software.

             4.4     Continued Monitoring of golden eagle and other migratory bird fatalities:
       Ongoing, per requirement.



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      5.       Compensatory Mitigation.

             5.1     Development of Compensatory Mitigation methods during probation
      period: At the annual meeting that was held in Cheyenne, Wyoming between DER,
      USFWS, and the Department on October 21, 2014, compensatory mitigation options
      were discussed.

              5.2    Compensatory mitigation following issuance of an Eagle Take Permit: No
      action required at this time, as Eagle Take Permit have not yet been issued.

              5.3    Exclusion of compensatory mitigation costs from MBCP cost cap: No
      action required.

               5.4    Compensatory mitigation methods: No action required at this time.

              5.5    Analysis of other compensatory mitigation techniques: Ongoing, per
      requirement. To date, in addition to power pole retrofits, DER has started the evaluation
      of habitat-based protection/enhancement and roadkill removal as potential compensatory
      mitigation for golden eagles.

      6.       Eagle Conservation Plan/Eagle Take Permits. DER initiated the development of

an Eagle Conservation Plan (ECP) for the CHW and TOTW sites. Communication and

coordination with the USFWS on the development of these ECPs are ongoing.

      7.       MBCP Term: No action required.

      DATED: November 21, 2014.

                                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 21, 2014, I electronically filed the foregoing with the

Clerk of the Court using CM/ECF, which will send notification of such filing to all counsel of

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